            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                             1:16 CR 137-2


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                  ORDER
                                       )
LEIGHSA BRADLEY LEWIS.                 )
                                       )
______________________________________ )

      THIS CAUSE came on to be heard before the undersigned at the close of a

Rule 11 proceeding that was held before this Court on August 11, 2017. It appearing

to the Court at the call of this matter on for hearing the Defendant was present with

her attorney, Sean Devereux and the Government was present and represented

through AUSA John Pritchard. From the arguments of counsel for Defendant and

the arguments of the Assistant United States Attorney and the records in this cause,

the Court makes the following findings:

      Findings. On November 15, 2016 a bill of indictment (#1) was issued

charging the Defendant with conspiracy to traffic in methamphetamine, in violation

of 21 U.S.C. § 841(b)(1)(B) and 846. On August 11, 2017, the undersigned held

and inquiry, pursuant to Rule 11 of the Federal Rules of Criminal Procedure and

accepted a plea of guilty of the Defendant to that charge. At the close of the Rule

11 proceeding, the Court presented the issue of whether or not Defendant should

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now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

      Discussion.    18 U.S.C. § 3143(a)(2) provides as follows:

      (2) The judicial officer shall order that a person who has been found
      guilty of an offense in a case described in subparagraph (A), (B), or (C)
      of subsection (f)(1) of section 3142 and is awaiting imposition or
      execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood
      that a motion for acquittal or new trial will be granted; or

             (ii) an attorney for the Government has recommended that no
             sentence of imprisonment be imposed on the person; or

             (B) the judicial officer finds by clear and convincing evidence
             that the person is not likely to flee or pose a danger to any other
             person or the community.

      From an examination of the records in this cause, it appears Defendant has

now entered a plea of guilty to conspiracy to violate 21 U.S.C. § 841(b)(1)(B). That

crime is one of the crimes that is referenced under 18 U.S.C. § 3142(f)(1)(C). The

undersigned made an inquiry of AUSA John Pritchard as to whether or not there will

be a recommendation that no sentence of imprisonment be imposed upon Defendant.

Mr. Pritchard advised the Court that such a recommendation could not be made in

this matter. The undersigned cannot find there is a likelihood that a motion for

acquittal or new trial will be granted due to the fact the Defendant has now entered

a plea of guilty.

      It would appear, and the Court is of the opinion that the Court is required by

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law to apply the factors as set forth under 18 U.S.C. § 3143(a)(2) which mandate the

detention of Defendant.

      Defendant’s counsel made an oral motion that Defendant continue to be

released on terms and conditions of presentence release, pursuant to what Defendant

contends are exceptional circumstances as set forth in 18 U.S.C. § 3145(c). Mr.

Devereux had filed an Unopposed Motion to Hold Open at Docket Call (#51) on

August 4, 2017. In that motion, Mr. Devereux advised the Court that Defendant had

been admitted to Memorial Mission Hospital on August 3, 2017 where Defendant

had underwent emergency gall bladder surgery.           Mr. Devereux advised the

undersigned that Defendant was continuing to recover from her surgery and

requested that the undersigned allow her a period of time to remain on what would

now be presentence release so the Defendant could recover from the surgery.

      Discussion: 18 U.S.C. § 3145(c) provides, in part, as follows:

      (c) Appeal from a release or detention order.---

      An appeal from a release or detention order, or from a decision denying
      revocation or amendment of such an order, is governed by the
      provisions of section 1291 of title 28 and section 3731 of this title. The
      appeal shall be determined promptly. A person subject to detention
      pursuant to section 3143(a)(2) or (b)(2), and who meets the conditions
      of release set forth in section 3143(a)(1) or (b)(1), may be ordered
      released, under appropriate conditions, by the judicial officer, if it is
      clearly shown that there are exceptional reasons why such person’s
      detention would not be appropriate.


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      Motions for release, pursuant to 18 U.S.C. § 3145(c), have been referred to

the undersigned for determination. As guidance in making the determination, the

undersigned has reviewed United States v.Vilaiphone, 2009 WL 412958 (2009

W.D.N.C.) where United States District Judge Martin Reidinger defined what is

meant by “exceptional reasons”.

      Courts generally have defined “exceptional reasons” as circumstances
      which are “clearly out of the ordinary, uncommon, or rare.” See United
      States v. Larue, 478 F.3d 924, 926 (8th Cir. 2007) (finding defendant’s
      compliance with terms of pretrial release, lack of criminal record,
      payment of child support, and continued employment were not
      exceptional reasons warranting release); United States v. Lea, 360 F.3d
      401, 403 (2d Cir. 2004) (“Exceptional circumstances exist where there
      is ‘a unique combination of circumstances giving rise to situations that
      are out of the ordinary.’”) (quoting United States v. DiSomma, 951 F.2d
      494, 497 *2d Cir. 1991)). The fact that the Defendant has cooperated
      with the Government and has complied with the terms and conditions
      of his pretrial release do not constitute exceptional reasons warranting
      his continued release pending sentencing. See United States v. Little,
      485 F.3d 1210, 1211 (8th Cir. 2007) (“It is not exceptional to expect
      every defendant to timely appear in court and to obey the court’s order
      concerning pretrial conditions of release. Nor it is clearly out of the
      ordinary, uncommon or rare for defendants to cooperate in the
      investigation of their criminal acts.”). Similarly, the Defendant’s lack
      of a significant criminal history and his gainful employment, while
      commendable, do not rise to the level of “exceptional reasons.” See
      Lea, 360 F.3d at 403-04 (“There is nothing ‘exceptional about going to
      school, being employed, or being a first-time offender, either separately
      or in combination.”). Finally, while the Court is cognizant of the
      hardships that the Defendant’s detention will create for his immediate
      family, such hardships are common to nearly every case involving a
      term of imprisonment and thus do not qualify as “exceptional reasons”
      under § 3145(c). See United States v. Garcia, 340 F.3d 1013, 1022 (9th
      Cir. 2003) (“Hardships that commonly result from imprisonment do not

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      meet the standard.”); United States v. Mahabir, 858 F.Supp 504, 508
      (D.Md. 1994)(“A defendant’s incarceration regularly creates
      difficulties for him and his family. Courts have found that such purely
      personal considerations do not constitute exceptional reasons within the
      meaning of Section 3145(c).”)

      Applying “exceptional reasons” to the circumstances which now face this

Defendant, the undersigned finds that the physical condition of Defendant and her

recovery from recent surgery is “clearly out of the ordinary, uncommon, or rare.”

The undersigned will allow Defendant to be released until August 25, 2017 so she

can continue to recover and at that time will conduct further hearings in regard to

the release of Defendant.

                                     ORDER

      IT IS, THEREFORE, ORDERED, that the oral motion of Defendant’s

counsel for Defendant’s continued release is ALLOWED and the Defendant is to

continue to be released on terms and conditions of now presentence release pending

a hearing that is to take place on August 25, 2017.

                                      Signed: August 25, 2017




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